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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                        CIVIL NO. 21-1559(DSD/JFD)

Mark Latimer,

                  Plaintiff,

v.                                                          ORDER

MDOC, Sherlinda Wheeler,
Chris Pawelk and Chad Oye,

                  Defendants.


       This   matter   is   before   the   court   upon    the   report   and

recommendation of United States Magistrate Judge John F. Docherty,

dated September 1, 2021 (R&R).         No objections have been filed to

the R&R in the time period permitted.          Based on the R&R, and the

files, records, and proceedings herein, IT IS HEREBY ORDERED that

this    action   is    dismissed     without   prejudice    under   Fed. R.

Civ. P. 41(b) for failure to prosecute.

LET JUDGMENT BE ENTERED ACCORDINGLY.


Dated: September 28, 2021

                                           s/David S. Doty
                                           David S. Doty, Judge
                                           United States District Court
